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     1                      UNITED STATES DISTRICT COURT
     2
                          CENTRAL DISTRICT OF CALIFORNIA
     3

     4   MOOG INC.,                           Case No. 2:22-cv-09094-GW-MAR

     5              Plaintiff,                Hon. George H. Wu
     6        v.                              JOINT STIPULATION TO VACATE
     7                                        ALL HEARING DATES, BRIEFING
         SKYRYSE, INC., ROBERT                DEADLINES, AND CASE
     8   ALIN PILKINGTON, MISOOK              SCHEDULE PENDING
                                              COMPLETION OF SETTLEMENT
         KIM, and DOES NOS. 1-50,
     9
                    Defendants.               Complaint Filed:     March 7, 2022
    10
                                              Counterclaims Filed: January 30, 2023
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     1
               IT IS HEREBY STIPULATED by and between Plaintiff and Counter-
     2
         Defendant Moog Inc. (“Moog”), Defendant and Counterclaimant Skyryse, Inc.
     3
         (“Skyryse”), Defendant Misook Kim (“Kim”), and Defendant Robert Alin
     4
         Pilkington (“Pilkington”) (collectively, the “Parties”) through their respective
     5
         attorneys of record, as follows:
     6
               WHEREAS, on September 22, 2023, the Parties executed a binding settlement
     7
         term sheet and reached an agreement that contemplates the negotiation and
     8
         execution of a final, long-form settlement agreement;
     9
               WHEREAS, there are a number of upcoming briefing deadlines and hearings,
    10
         as well as existing case deadlines pursuant to the Scheduling Order issued by the
    11
         Court on April 19, 2023 (Dkt. 446);
    12
               WHEREAS, the Parties agreed that they would stipulate that the Court vacate
    13
         all pending hearing dates, briefing deadlines, and all dates in the Scheduling Order,
    14
         and that such stipulation would be filed within 3 days of the date of the term sheet’s
    15
         execution;
    16
               WHEREAS, the Parties are now working on negotiating the final, long-form
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         settlement agreement;
    18
               WHEREAS, the Parties therefore respectfully request an order vacating all
    19
         pending hearing dates, briefing deadlines, and all dates in the Scheduling Order;
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               WHEREAS, the Parties intend to file requests for dismissal of their respective
    21
         claims within the next two weeks as long as certain other preconditions contained in
    22
         the term sheet are met, and therefore request that the Court schedule a status
    23
         conference at least 45 days out.
    24
               NOW THEREFORE, subject to the Court’s approval, the Parties stipulate
    25
         and agree as follows:
    26
               1.     All pending hearing dates, briefing deadlines, and dates in the
    27
                      Scheduling Order are vacated;
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     1
              2.    The Court shall schedule a status conference no earlier than 45 days
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                    from the date of this filing, and if the Court receives requests for
     3
                    dismissal of all claims and counterclaims before the scheduled status
     4
                    conference, then the Court shall take the status conference off
     5
                    calendar.
     6
         IT IS SO STIPULATED.
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     9
         Dated: September 25, 2023
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    11                                     SHEPPARD, MULLIN, RICHTER &
                                           HAMPTON LLP
    12

    13                                     By: /s/ Kazim A. Naqvi
                                               Kazim A. Naqvi
    14                                         Counsel for Plaintiff and Counterdefendant
                                               Moog Inc.
    15
                                           LATHAM & WATKINS LLP
    16

    17                                     By: /s/ Gabriel S. Gross
                                               Gabriel S. Gross
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                                               Counsel for Defendant and Counterclaimant
    19                                         Skyryse, Inc.
    20
                                           ZWEIBACK FISET & ZALDUENDO LLP
    21
                                           By: /s/ Scott D. Tenley
    22
                                               Scott D. Tenley
    23                                         Counsel for Defendant Robert Alin
                                               Pilkington
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    25
                                          HALPERN MAY YBARRA & GELBERG
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                                          LLP
    27                                    By: /s/ Grant B. Gelberg
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                                              Grant B. Gelberg
                                              Counsel for Defendant Misook Kim

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     1                                    ATTESTATION
     2
               Pursuant to Civil Local Rule 5-4.3.4, I, Kazim A. Naqvi, attest that
     3

     4   concurrence in the filing of this document has been obtained by all its signatories.

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     6
         Dated: September 25, 2023                      /s/ Kazim A. Naqvi
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